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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------·X
AMAL SHETIWY et al.,

                      Plaintiffs,

        v.
                                                                         No. 12 Civ. 7068 (SAS) (HBP)


MIDLAND CREDIT MANAGEMENT et al.,

                                    Defendants.
-----------------------------------------------------------------·X

             DECLARATION OF ERICA KLIPPER IN SUPPORT OF
         DEFENDANTS AMERICAN EXPRESS COMPANY, GE CAPITAL
       CONSUMER LENDING, INC., CITIGROUP, INC. AND CITIBANK, N.A.'S·
        MOTION TO COMPEL ARBITRATION AND TO STAY THE ACTION

                 Pursuant to 28 U.S.C. § 1746, I, Erica Klipper, declare as follows:

        1.       I am a member of the Bar ofthe United States District Court for the Southern

District ofNew York and am an associate atthe law firm Cleary Gottlieb Steen & Hamilton

LLP.

        2.       I submit this declaration in support of Defendants American Express, GE Capital

Consumer Lending, Inc., Citigroup, Inc. and Citibank, N.A.'s Motion to Compel Arbitration and

to Stay the Action.

        3.       Attached as Exhibit 1 to this declaration is a true and correct copy of a print-out

from the Federal Deposit Insurance Corporation website, located at http://research.fdic.gov/

bartkfind/detail.html ?bank=7213 &name=Ci tibank, %20N ational %20Association&searchN arne=

citi bank, %20national %2 Oassociation&searchF dic=&city=&state=&zi p=&address=&tabid= 1 and

printed on January 25,2013.
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       4.     Attached as Exhibit 2 to this declaration is a true and correct copy of a print-out

from the Citibank website, located at https://www.citicards.com/cards/acq/cma.do?screenld=

13461&locale=en_US and printed on January 25, 2013. The document is titled "Card

Agreement."

       5.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information and belief.

DATED:        January 25, 2013
              New York, New York




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              EXHIBIT 1
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 j ~ FDIC: BankFind Details                                   ~-~                                                                                                              fl} . ,. &'] .,. ::;:] ~ ..,..   Page..,.   Safety..,. Teels ..,. ~....   »


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                                BankFind Home              Return to BankFind Results                                                                                                 Questions & Suggestions

                                 Citibank, National Association (FDIC#: 7213)
                                 Status: Active • Insured Since January 1, 1934
                                 Citibank, National Association is an active bank
                                 Data as ot: January 23. 2013

                              Df ____Overvi~w ~                                ~                   ~'II     , -~                       I[   ~             J



                                    Citigroup Inc.
                                    Ba.nk Holding Company                           Citibank, National Association has 1056 domestic locations in 17 states. 6 locations in territories, and 281
                                                                                    foreign locations

                                    Citibank, National Association
                                                                                    Established:                  June 16, 1812              FDIC Certificate#:   7213
                                    Banking Institution                             Insured:                      January 1, 1934            Bank Charter Class: National Bank
                                                                                    Headquarters:                 701 East 60th Street North Regulated By:        Office of the Comptroller of
                                                                                                                  Sioux Falls, SO 57104                           the Currency
                                    1056locations
                                    Branches (Offices)                                                            Minnehaha County
                                                                                   Consumer
                                                                                                                  http://l.vww.helpwithmybank.gov
                                                                                   Assistance:
                                                                                   Corporate Website: http://wmv.citibank.com

                                                                                    Latest financial informationabout Citibank, National Association
                                                                                   Contact the FDIC about Citibank, National Association

                                Home I Contact Us I Search I Help I SiteMap I Forms 1 En Espai\ol

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              EXHIBIT 2
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                                                                  your total balance below the credit limit. However, if the total      Rate published in The Wall Street Journal two business days
CARD AGREEMENT                                                    balance goes over your credit limit you still must pay us. If
                                                                  your account has a credit balance, we may reduce the credit
                                                                                                                                        before the Statement Closing Date. If the Prime Rate causes
                                                                                                                                        an APR to change, we put the new APR into effect as of the
                                                                  balance by any new charges on your account. You may not               first day of the billing period for which we calculate the APR.
This Card Agreement is your contract with us. It governs          maintain a credit balance in excess of your credit limit.             We apply the new APR to any existing balances, subject to
the use of your card and account. The pricing information         Balance Transfers. Balance transfers are an account feature           any promotional rate that may apply. If The Wall Street
table is part of this Agreement. Please read this Agreement,      that we make available to you through offers. If there is an          Journal does not publish the Prime Rate, we will use a similar
including the pricing information table, carefully. Keep them     offer available at account opening, the Citi Disclosures will         published rate.
for your records.                                                 describe the terms of that offer. If we make an offer after           Penalty APR. The Penalty APR may be applied to your
                        Definitions                               your account is opened, the offer will describe the terms.            account if you:
account means the relationship established between you and        All balance transfers are subject to the standard purchase                 • make a late payment or
us by this Agreement.                                             APR unless a promotional rate applies.                                     • make a payment that is returned.
APR means an annual percentage rate.                              Checks. We may provide you with balance transfer checks.              We set your Penalty APR based on your creditworthiness.
                                                                  You may use them to transfer a balance to your account                If the Penalty APR is applied to your account because you
authorized user means any person you allow to use your            or make other transactions. We may also provide you with
account.                                                                                                                                make a late payment that is not more than 60 days late or
                                                                  cash convenience checks. You may use them to get a cash               make a payment that is returned, it will apply only to new
card means one or more cards or other access devices that         advance. Use of a cash convenience check will be a cash               transactions and may continue to apply indefinitely. However,
we give you to get credit under this Agreement. This includes     advance even if you use the check to make a payment to                if the Penalty APR is applied to your account because your
account numbers.                                                  another creditor. You may not use balance transfer checks             payment is more than 60 days late, the Penalty APR will
we, us, and our mean Citibank, N.A., the issuer of your           or cash convenience checks to pay an amount owed to us                apply to both existing and new transactions. It will no longer
account.                                                          under this Agreement or to pay another account with us or             apply to existing transactions if you make the next six con-
                                                                  an affiliate. We do not certify these checks or return any            secutive minimum payments when due. If you do not make
you, your, and yours mean the person who applied to open          checks that have been paid.
the account. It also means any other person responsible for                                                                             these six consecutive minimum payments, the Penalty APR
complying with this Agreement.                                    Billing Statement. Your billing statement shows the New               may continue to apply to both new and existing balances
                                                                  Balance. This is the total amount you owe us on the State-            indefinitely.
                      Your Account                                ment Closing Date. To determine the New Balance, we begin             Effect of APR Increases. If an APR increases, interest
You agree to use your account in accordance with this             with the total balance at the start of the billing period. We         charges increase. Your minimum payment may increase
Agreement. You must pay us for all amounts due on your            add any purchases, balance transfers or cash advances. We             as well.
account. This Agreement is binding on you unless you close        subtract any credits or payments. We then add any interest
your account within 30 days after receiving the card and you      charges or fees and make other adjustments.                                   Interest Charges Based on APRs
have not used or authorized use of the card. Your account         We deliver a billing statement to only one address. You must          Interest Charges. We impose interest charges when we
must only be used for lawful transactions.                        notify Customer Service of a change in address. We may stop           apply APRs to your account balances. We do this every day
Authorized Users. You may request additional cards for            sending you statements if we deem your account uncollecti-            by using a daily periodic rate. To get a daily periodic rate, we
authorized users. You must pay us for all charges made by         ble or start collection proceedings; but we may continue to           divide the APR by 365.
authorized users. You must pay us even if you did not intend      add interest and fees as permitted by law.                            When Interest Charges Begin. We begin to impose interest
to be responsible for those charges. You must notify us to                                                                              charges the first day we add a charge to a daily balance. The
withdraw any permission you give to an authorized user to                                     APRs                                      charges we add to a daily balance include purchases, balance
use your account.                                                 Account APRs. For the APRs on your account, see the pricing           transfers, and cash advances. They also include interest
                                                                  information table.                                                    charges and fees. We continue to impose interest charges
Credit limit. The full amount of your credit limit is available
to use where the card is honored. Part of your credit limit       Variable APRs Based on Prime. If any APR is based on                  until we credit your account with full payment of the total
is called the cash advance limit. It is available for cash ad-    the U.S. Prime Rate ("Prime Rate"), the APR will equal the            amount you owe us.
vances. We may reduce or increase your credit limit or cash       Prime Rate plus an additional amount. The additional amount           Grace Period on Purchases. You can avoid interest charges
advance limit at any time for any reason as permitted by law.     appears on the Fact Sheet in the Details About Your Interest          on purchases, but not on balance transfers and cash
We will notify you of any change, but the change may take         Rate table. If the Prime Rate increases, it will cause the APR        advances. This is called a grace period on purchases. The
effect before you receive the notice. You should always keep      to increase. If the Prime Rate decreases, it will cause the           grace period is at least 23 days. To get a grace period on
                                                                  APR to decrease. For each billing period we use the Prime             purchases, you must pay the New Balance in full by the due




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date every billing period. If you do not, you will not get a                                       Fees                                  Stop Payment on Cash Convenience Check Fee. We add a
grace period until you pay the New Balance in full for two          Annual Membership Fee. If an annual membership fee                   $39 fee if we honor your request to stop payment on a cash
billing periods in a row. Certain balance transfer offers may       applies, the pricing information table shows it. We will refund      convenience check. To stop payment on a cash convenience
take away the grace period on purchases. If that is the case,       this fee if you notify us that you are closing your account          check write us at P.O. Box 6500, Sioux Falls, South Dakota
the balance transfer offer will describe what happens.              within 30 days of the mailing or delivery date of the statement      57117. You can also call the Customer Service number on
Calculation of Interest Charges-Daily Balance Method                on which the fee appears. The fee is otherwise non-refundable.       the billing statement. If you call, you must confirm the call in
(Including Current Transactions). We calculate interest             Transaction Fee for Balance Transfers. The pricing informa-          writing within 14 days. A written stop payment order is good
charges each billing period. To do this:                                                                                                 for 6 months unless renewed in writing.
                                                                    tion table shows the amount of this fee. We add this fee for
     • We start with each of your different balances. These         each balance transfer. This fee is in addition to any periodic        Information on Foreign Currency Conversion
       balances include, for example, standard purchases,           fee that may be imposed with a promotional offer. You mak~           Our network providers are MasterCard, Visa, and American
       standard cash advances, and different promotional            a balance transfer when you use a balance transfer check or          Express. They convert transactions in foreign currencies
       balances. (When we calculate interest charges, we            contact us to transfer a balance.                                    into U.S. dollars. The type of card you have determines who
       treat balance transfers as standard purchases unless         Transaction Fee for Cash Advances. The pricing information           does the conversion. Each network provider follows its own
       a promotional rate applies.)                                 table shows the amount of this fee. We add this fee for each         procedures. Each network provider's current procedures are
     • We calculate the daily balance for each of your different    cash advance. You take a cash advance if you use a cash              described below. The procedures may change from time to
       balances. To get a daily balance, we start with the          convenience check; get money through an automated teller             time without notice.
       balance as of the end of the previous day. We add any        machine (ATM); or get money through home banking or a                     • MasterCard uses a conversion rate in effect one day
       interest charge on the previous day's balance. (This         financial institution. You also take a cash advance if you make             before its transaction processing date. It uses a
       results in daily compounding of interest charges.) We        a wire transfer; buy a money order, traveler's check, lottery               government-mandated rate if required to do so. If not,
       add any new charges. We then subtract any new credits        ticket, casino chip, or similar item; or engage in a similar                it uses a wholesale market rate.
       or payments.                                                 transaction.                                                              • Visa uses a conversion rate in effect on its applicable
     • We multiply each daily balance by the daily periodic rate                                                                                central processing date. It uses a government-mandated
       that applies to it. We do this for each day in the billing   Transaction Fee for Foreign Purchases. The pricing informa-
                                                                    tion table shows the amount of this fee, which is a percentage              rate if required to do so. If not, it selects from the range
       period. This gives us the daily interest charges for each                                                                                of rates available in wholesale currency markets. The
       of your different balances.                                  of the U.S. dollar amount of the purchase. We add this fee for
                                                                    each purchase made outside the U.S., whether made in U.S.                   selected rate may vary from the rate Visa receives.
     • We add up all the daily interest charges. The sum is the                                                                               • American Express uses any conversion rate required
       total interest charge for the billing period.                dollars or in a foreign currency.
                                                                                                                                                by applicable law. If there is none, it uses the highest
When we calculate daily balances, we add a purchase as              Late Fee. We may add a late fee for each billing period in                  interbank rate it selects on the business day before the
of the Sale Date on the billing statement. We add a balance         which you have a past due payment. For late fee purposes, you               day it processes the transaction.
transfer or cash advance as of the Post Date on the billing         have a past due payment any time you fail to pay the Mini-
                                                                    mum Payment Due (less the Amount Over Credit Limit shown             A third party may convert a transaction into U.S. dollars or
statement. (The Post Date is the date we get a request to                                                                                another currency before sending it to our network provider.
complete a balance transfer or cash advance transaction.            on your billing statement) by the payment due date. The fee
                                                                    is based on your account balance as of the payment due date.         In these cases, the third party selects the conversion rate.
When you send a balance transfer or cash convenience check
directly to someone, the Post Date is the date we receive the       The fee will be $15 on balances up to $100; or $25 on bal-           If you take a cash advance in a foreign currency at a branch
check for payment.) We add a transaction fee to the same            ances of $100 and over. However, for any additional past due         or ATM of one of our affiliates, an affiliate of ours will convert
balance as the transaction. We generally add other fees to the      payment during the next six billing periods after a past due         it into U.S. dollars. This applies regardless of which network
standard purchase balance. We subtract a payment or credit          payment, the fee will be $15 on balances up to $100; $29 on          provider's card you use to take the cash advance. Our affiliate
as of the day it is credited to the account and then make other     balances of $100 up to $250; or $35 on balances of $250 and          currently uses a conversion rate in effect on its processing
adjustments. We treat a credit balance as a balance of zero.        over. The fee will not exceed the amount permitted by law.           date. It uses a government-mandated rate if required to
                                                                    Returned Payment Fee. We may add a returned payment fee              do so. If not, it uses a mid-point market rate. Our affiliate's
Balance Subject to Interest Rate. Your statement shows                                                                                   procedure may change from time to time without notice.
a Balance Subject to Interest Rate. It shows this for each          for a returned payment. A returned payment is an electronic
different balance. The Balance Subject to Interest Rate is          debit, payment check, or similar payment instrument, that            The conversion rate you get is the one used on the transac-
the average of the daily balances during the billing period.        is returned unpaid. We may add this fee the first time your          tion's processing date. This may be different from the one in
A billing period begins on the day after the Statement Closing      payment is returned, even if it is not returned upon resubmis-       effect on the transaction's Sale Date or Post Date.
Date of the previous billing period. It includes the Statement      sion. The fee will be $25; or $35 for any additional returned
                                                                    payment during the next six billing periods after a returned                               Payments
Closing Date of the current billing period.                                                                                              Minimum Payment Due. You must pay at least the Minimum
                                                                    payment. However, the fee will not exceed the amount per-
                                                                    mitted by law.                                                       Payment Due by the payment due date each billing period.



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  The sooner you pay the New Balance, the less you will pay in        expedite your payment. Our representatives are trained to tell       If we detect unusual or suspicious activity, we may suspend
  interest charges.                                                   you this amount when you use this service.                           your credit privileges.
  To calculate the Minimum Payment Due, we begin with any                                  Credit Reporting                                Preauthorized Charges. We may suspend any automatic or
  past due amount. We then add any amount in excess of your           We may report information about your account to credit               other preauthorized card charges you arrange with a third
  credit limit. We also add the largest of the following:             bureaus. Late payments, missed payments, or other defaults           party. We may do this if you default; if the card is lost or
      • The New Balance on the billing statement if it is less        on your account may be reflected in your credit report. We           stolen; or we change your account for any reason. If we do
        than $20;                                                     may report account information in your name and the names            this, you are responsible for paying the third party directly if
      • $20 if the New Balance is at least $20;                       of authorized users. We may also obtain follow-up credit             you wish to do so. You are also responsible for reinstating the
      • 1% of the New Balance (the result is rounded down to          reports on you.                                                      preauthorized charges if you wish to do so and we permit it.
        the nearest dollar) plus the amount of your billed interest   If you think we reported incorrect information to a credit           Lost or Stolen Cards, Account Numbers, or Cash
        charges, any applicable late fee, and any applicable          bureau, write us at the Customer Service address on the              Convenience and Balance Transfer Checks. You must call
        minimum interest charge; or                                   billing statement. We will investigate the matter. We will then      us if any card, account number, or check is lost or stolen. You
      • 1.5% of the New Balance (the result is rounded down to        tell you if we agree or disagree with you. If we agree with          must also call us if you think someone used or may use them
        the nearest dollar).                                          you, we will contact each credit bureau to which we reported         without permission. When you call, we may require you to
  When we calculate the Minimum Payment Due, we may                   and request a correction. If we disagree with you, we will tell      provide information to help our investigation. We may require
  subtract from the New Balance certain fees added to your            you that.                                                            you to provide this information in writing. For example, we
  account during the billing period. We may also include in the                                                                            may ask you to identify any charges that were not made by
                                                                                         Information Sharing                               you or someone authorized by you. We may also ask you to
  Minimum Payment Due any additional amount specified in
  a promotional offer. The balance of any such promotional            You authorize us to share information about you as permitted         confirm that you received no benefit from those charges.
  offer is not included in the four bullets above. The Minimum        by law. This includes information we get from you and others.
                                                                      It also includes information about your transactions with us.        Closing Your Account. You may close your account by
  Payment Due is never more than the New Balance.                                                                                          notifying us in writing or over the phone. If you close your
                                                                      Please see our Privacy Notice for details about our informa-
  Application of Payments. Payments in excess of the Mini-            tion sharing practices.                                              account, you must still repay the total balance in accordance
  mum Payment Due are applied in accordance with law. This                                                                                 with this Agreement. We may also close your account or
  means that we will generally apply payments in excess of the                    Changes to this Agreement                                suspend account privileges at any time for any reason. We
- Minimum Payment Due to balances with higher APRs before             We may change the rates, fees, and terms of this Agree-              may do this without prior notice to you. We may also reissue
  balances with lower APRs. We generally apply payments               ment from time to time as permitted by law. The changes              a different card at any time. You must return any card to us
  equal to or less than the Minimum Payment Due and credits           may add, replace, or remove provisions of this Agreement.            upon request.
  to lower APR balances first.                                        We will give you advance written notice of the changes and
                                                                                                                                           Closing Secured Accounts. If your account is a secured
                                                                      a right to opt out to the extent required by law.
  Payment Instructions. We credit your payments in accor-                                                                                  account, you gave us a security interest in a Certificate of
  dance with our payment instructions on the billing statement.                                    Default                                 Deposit. This secures repayment of your account. If you
  You must pay us in U.S. dollars. To do so, you must use a           You default under this Agreement if you fail to pay the              withdraw your funds from the Certificate of Deposit, we will
  check, similar instrument, or electronic debit that is drawn on     Minimum Payment Due by its due date; pay by a check or               close your account.
  and honored by a bank in the U.S. Do not send cash. We can          similar instrument that is not honored or that we must return
  accept late or partial payments, or payments that reflect "paid     because it cannot be processed; pay by electronic debit that                             ARBITRATION
  in full" or other restrictive endorsements, without losing our      is returned unpaid; file for bankruptcy; or default under any        PLEASE READ THIS PROVISION OF THE AGREEMENT
  rights. We also reserve the right to accept payments made in        other Card Agreement that you have with us. If you default,          CAREFULLY. IT PROVIDES THAT ANY DISPUTE MAY BE
  foreign currency and instruments drawn on funds on deposit          we may close your account and, to the extent permitted by            RESOLVED BY BINDING ARBITRATION. ARBITRATION
  outside the U.S. If we do, we select the currency conversion        law, demand immediate payment of the total balance. If you           REPLACES THE RIGHT TO GO TO COURT, INCLUDING
  rate. We will then credit your account in U.S. dollars after        gave us a security interest in a Certificate of Deposit, we may      THE RIGHT TO A JURY AND THE RIGHT TO PARTICIPATE
  deducting any costs incurred in processing your payment.            use the deposit amount to pay any amount you owe.                    IN A CLASS ACTION OR SIMILAR PROCEEDING. IN ARBI-
  Or we may bill you separately for these costs.                                                                                           TRATION, A DISPUTE IS RESOLVED BY AN ARBITRATOR
                                                                           Refusal of the Card, Closed Accounts,                           INSTEAD OF A JUDGE OR JURY. ARBITRATION PROCE-
  Optional Pay by Phone Service. You may use our optional                            and Related Provisions
  Pay by Phone Service to make your payment by phone. To do                                                                                DURES ARE SIMPLER AND MORE LIMITED THAN COURT
                                                                      Refusal of the Card. We do not guarantee approval of                 PROCEDURES.
  so, call us to request the service. You agree to pay us the Pay     transactions. We are not liable for transactions that are not
  by Phone fee shown in the Pay by Phone section on the back          approved. That is true even if you have enough credit. We
                                                                                                                                           Agreement to Arbitrate: Either you or we may, without the
  of the billing statement when a representative of ours helps                                                                             other's consent, elect mandatory, binding arbitration for any
                                                                      may limit the number of transactions approved in one day.



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claim, dispute, or controversy between you and us (called           on an individual basis of any Claim asserted by you, whether            provided for under applicable law. You or we may choose to
"Claims").                                                          in arbitration or any proceeding, including in a proceeding to          have a hearing and be represented by counsel. The arbitrator
                                                                    collect a debt. You may seek arbitration on an individual basis         will make any award in writing and, if requested by you or us,
                       Claims Covered                               of any Claim asserted against you, including in a proceeding            will provide a brief statement of the reasons for the award. An
What Claims are subject to arbitration? All Claims relating         to collect a debt.                                                      award in arbitration shall determine the rights and obligations
to your account, a prior related account, or our relationship                                                                               between the named parties only, and only in respect of the
are subject to arbitration, including Claims regarding the                             How Arbitration Works
                                                                    How does a party initiate arbitration? The party filing an              Claims in arbitration, and shall not have any bearing on the
application, enforceability, or interpretation of this Agreement                                                                            rights and obligations of any other person, or on the
and this arbitration provision. All Claims are subject to arbi-     arbitration must choose one of the following two arbitration
                                                                    firms and follow its rules and procedures for initiating and            resolution of any other dispute.
tration, no matter what legal theory they are based on or what
remedy (damages, or injunctive or declaratory relief) they          pursuing an arbitration: American Arbitration Association or            Who pays? Whoever files the arbitration pays the initial filing
seek. This includes Claims based on contract, tort (including       JAMS. Any arbitration hearing that you attend will be held              fee. If we file, we pay; if you file, you pay, unless you get a
intentional tort), fraud, agency, your or our negligence,           at a place chosen by the arbitration firm in the same city as           fee waiver under the applicable rules of the arbitration firm.
statutory or regulatory provisions, or any other sources of         the U.S. District Court closest to your then current billing            If you have paid the initial filing fee and you prevail, we will
law; Claims made as counterclaims, cross-claims, third-             address, or at some other place to which you and we agree in            reimburse you for that fee. If there is a hearing, we will pay
party claims, interpleaders or otherwise; and Claims made           writing. You may obtain copies of the current rules of each of          any fees of the arbitrator and arbitration firm for the first day
independently or with other claims. A party who initiates           the arbitration firms and forms and instructions for initiating         of that hearing. All other fees will be allocated as provided by
a proceeding in court may elect arbitration with respect to         an arbitration by contacting them as follows:                           the rules of the arbitration firm and applicable law. However,
any Claim advanced in that proceeding by any other party.                   American Arbitration Association                                we will advance or reimburse your fees if the arbitration firm
Claims and remedies sought as part of a class action, private               800-778-7879 (toll-free)                                        or arbitrator determines there is good reason for requiring
attorney general or other representative action are subject to              Website: www.adr.org                                            us to do so, or if you ask us and we determine there is good
arbitration on an individual (non-class, non-representative)                                                                                reason for doing so. Each party will bear the expense of that
                                                                            JAMS                                                            party's attorneys, experts, and witnesses, and other expenses,
basis, and the arbitrator may award relief only on an individ-              800-352-5267 (toll~free)
ual (non-class, non-representative) basis.                                                                                                 ·regardless of which party prevails, but a party may recover
                                                                            Website: www.jamsadr.com                                        any or all expenses from another party if the arbitrator,
Whose Claims are subject to arbitration? Not only ours and          At any time you or we may ask an appropriate court to                   applying applicable law, so determines.
yours, but also Claims made by or against anyone connected          compel arbitration of Claims, or to stay the litigation of Claims
with us or you or claiming through us or you, such as a                                                                                     Who can be a party? Claims must be brought in the name
                                                                    pending arbitration, even if such Claims are part of a lawsuit,
co-applicant or authorized user of your account, an employee,                                                                               of an individual person or entity and must proceed on an
                                                                    unless a trial has begun or a final judgment has been entered.          individual (non-class, non-representative) basis. The arbi-
agent, representative, affiliated company, predecessor or           Even if a party fails to exercise these rights at any particular
successor, heir, assignee, or trustee in bankruptcy.                                                                                        trator will not award relief for or against anyone who is not a
                                                                    time, or in connection with any particular Claims, that party           party. If you or we require arbitration of a Claim, neither you,
What time frame applies to Claims subject to arbitration?           can still require arbitration at a later time or in connection
                                                                                                                                            we, nor any other person may pursue the Claim in arbitration
Claims arising in the past, present, or future, including Claims    with any other Claims.
                                                                                                                                            as a class action, private attorney general action or other
arising before the opening of your account, are subject to          What procedures and law are applicable in arbitration?                  representative action, nor may such Claim be pursued on
arbitration.                                                        A single, neutral arbitrator will resolve Claims. The arbitrator        your or our behalf in any litigation in any court. Claims,
Broadest interpretation. Any questions about whether Claims         will be either a lawyer with at least ten years experience or a         including assigned Claims, of two or more persons may not
are subject to arbitration shall be resolved by interpreting this   retired or former judge, selected in accordance with the rules          be joined or consolidated in the same arbitration. However,
arbitration provision in the broadest way the law will allow it     of the arbitration firm. The arbitration will follow procedures         applicants, co-applicants, authorized users on a single
to be enforced. This arbitration provision is governed by the       and rules of the arbitration firm in effect on the date the             account and/or related accounts, or corporate affiliates are
Federal Arbitration Act (the "FAA").                                arbitration is filed unless those procedures and rules are              here considered as one person.
                                                                    inconsistent with this Agreement, in which case this Agree-
What about Claims filed in Small Claims Court? Claims filed         ment will prevail. Those procedures and rules may limit the             When is an arbitration award final? The arbitrator's award
in a small claims court are not subject to arbitration, so long                                                                             is final and binding on the parties unless a party appeals it in
                                                                    discovery available to you or us. The arbitrator will take
as the matter remains in such court and advances only an            reasonable steps to protect customer account information                writing to the arbitration firm within fifteen days of notice of
individual (non-class, non-representative) Claim.                   and other confidential information if requested to do so by             the award. The appeal must request a new arbitration before
What about debt collections? We and anyone to whom we               you or us. The arbitrator will apply applicable substantive law         a panel of three neutral arbitrators designated by the same
assign your debt will not initiate an arbitration proceeding to     consistent with the FAA and applicable statutes of limitations,         arbitration firm. The panel will consider all factual and legal
collect a debt from you unless you assert a Claim against us        will honor claims of privilege recognized at law, and will have         issues anew, follow the same rules that apply to a proceeding
or our assignee. We and any assignee may seek arbitration           the power to award to a party any damages or other relief               using a single arbitrator, and make decisions based on the



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vote of the majority. Costs will be allocated in the same way     Your Billing Rights: Keeo this Document for Future Use                     • We can apply any unpaid amount against your credit
they are allocated for arbitration before a single arbitrator.    This notice tells you about your rights and our responsibil-                 limit.
An award by a panel is final and binding on the parties after     ities under the Fair Credit Billing Act.                               After we finish our investigation, one of two things
fifteen days has passed. A final and binding award is subject                                                                            will happen:
to judicial review and enforcement as provided by the FAA or      What To Do If You Find A Mistake On Your Statement                         • If we made a mistake: You will not have to pay the
other applicable law.                                                                                                                          amount in question or any interest or other fees related
                                                                  If you think there is an error on your statement, write to us at
        Survival and Severability of Terms                        the address for billing inquiries and correspondence shown                   to that amount.
This arbitration provision shall survive: (i) termination or      on the front of your statement.                                            • If we do not believe there was a mistake: You will have
changes in the Agreement, the account, or the relationship                                                                                     to pay the amount in question, along with applicable
                                                                  In your letter, give us the following information:                           interest and fees. We will send you a statement of the
between you and us concerning the account; (ii) the bank-             • Account information: Your name and account number.
ruptcy of any party; and (iii) any transfer, sale or assignment                                                                                amount you owe and the date payment is due. We may
                                                                      • Dollar amount: The dollar amount of the suspected error.               then report you as delinquent if you do not pay the
of your account, or any amounts owed on your account, to              • Description of problem: If you think there is an error on
any other person or entity. If any portion of this arbitration                                                                                 amount we think you owe.
                                                                        your bill, describe what you believe is wrong and why
provision is deemed invalid or unenforceable, the entire                you believe it is a mistake.                                     If you receive our explanation but still believe your bill is
arbitration provision shall not remain in force. No portion of                                                                           wrong, you must write to us within 10 days telling us that
this arbitration provision may be amended, severed or waived      You must contact us:                                                   you still refuse to pay. If you do so. we cannot report you as
absent a written agreement between you and us.                        • Within 60 days after the error appeared on your                  delinquent without also reporting that you are questioning
                                                                        statement.                                                       your bill. We must tell you the name of anyone to whom we
   Governing Law and Enforcing our Rights                             • At least 3 business days before an automated payment is          reported you as delinquent, and we must let those organiza-
                                                                        scheduled, if you want to stop payment on the amount             tions know when the matter has been settled between us.
Governing Law. Federal law and the law of South Dakota,                 you think is wrong.
where we are located, govern the terms and enforcement of                                                                                If we do not follow all of the rules above, you do not have to
this Agreement.                                                   You must notify us of any potential errors in writing. You             pay the first $50 of the amount you question even if your bill
                                                                  may call us, but if you do we are not required to investigate          is correct.
Enforcing this Agreement. We will not lose our rights under       any potential errors and you may have to pay the amount in
this Agreement because we delay in enforcing them or fail to      question.
enforce them.                                                                                                                            Your Rights If You Are Dissatisfied With Your Credit
Collection Costs. To the extent permitted by law, you are         What Will Happen AHer We Receive Your letter                           Card Purchases
liable to us for our legal costs if we refer collection of your   When we receive your letter, we must do two things:                    If you are dissatisfied with the goods or services that you
account to a lawyer who is not our salaried employee. These                                                                              have purchased with your credit card, and you have tried in
costs may include reasonable attorneys' fees. They may also          1. Within 30 days of receiving your letter, we must tell you        good faith to correct the problem with the merchant, you may
include costs and expenses of any legal action.                         that we received your letter. We will also tell you if we        have the right not to pay the remaining amount due on the
                                                                        have already corrected the error.                                purchase.
Assignment. We may assign any or all of our rights and
obligations under this Agreement to a third party.                   2. Within 90 days of receiving your letter, we must either          To use this right, all of the following must be true:
                                                                        correct the error or explain to you why we believe the               1. The purchase must have been made in your home state
                 For Further Information                                bill is correct.                                                        or within 100 miles of your current mailing address,
Call us toll-free for further information. Call the toll-free     While we investigate whether or not there has been                            and the purchase price must have been more than $50.
Customer Service telephone number shown on the billing            an error:                                                                     (Note: Neither of these are necessary if your purchase
statement or on the back of your card. You can also call local       • We cannot try to collect the amount in question, or                      was based on an advertisement we mailed to you, or
or toll-free Directory Assistance to get our telephone number.         report you as delinquent on that amount.                                 if we own the company that sold you the goods or
                                                                                                                                                services.)


tL
                                                                     • The charge in question may remain on your statement,
                                                                       and we may continue to charge you interest on that                    2. You must have used your credit card for the purchase.
                                                                       amount.                                                                  Purchases made with cash advances from an ATM or
                                                                     • While you do not have to pay the amount in question,                     with a check that accesses your credit card account do
Ken Stork                       Citibank, N.A:                         you are responsible for the remainder of your balance.                   not qualify.
Vice President                  P.O. Box 6000                                                                                                3. You must not yet have fully paid for the purchase.
                                Sioux Falls, SO 57117




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If all of the criteria above are met and you are still dissatisfied
with the purchase, contact us in writing at the address for
billing inquiries and correspondence shown on the front of
your statement.
While we investigate, the same rules apply to the disputed
amount as discussed above. After we finish our investigation,
we will tell you our decision. At that point, if we think you
owe an amount and you do not pay, we may report you
as delinquent.




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